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Debtor 1 Louis Comport
(Spouse, if filing)

United States Bankruptcy Court for he WESTERN District of Pennsylvania

Case number 21-20158 GLT

Official Form 410
Proof of Claim 04/19

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,

explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

Eo Identify the Claim

1. Who is the current NewRez LLC d/b/a Shellpoint Mortgage Servicing

creditor? - _ . . os
Name of the current creditor (the person or entity to be paid for this claim)

Other names the creditor used with the debtor

2. Has this claim been x
acquired from No
someone else? U) Yes. From whom?
3. Where should notices Where should notices to the creditor be sent? Where should payments to the creditor be sent? (if
and payments to the different)
creditor be sent? NewRez LLC DBA Shellpoint Mortgage Servicing NewRez LLC DBA Shellpoint Mortgage Servicing
Federal Rule of Name Name
(ERB) 20029) PO Box 10826 PO Box 10826
9 Number Street Number Street
Greenville, SC 29603-0826 Greenville, SC 29603-0826
City State Zip Code City State Zip Code
(800) 365-7107 (800) 365-7107
Contact phone Contact phone
mtgbk@shellpointmtg.com mtqbk@shellpointmtg.com
Contact Email Contact Email

Uniform claim identifier for electronic payments in chapter 13 (if you use one):

4. Does this claim amend No
?
one already filed? L) Yes. Claim number on court claims registry (if known) Filed on

MM / DD 1 YYYY

5. Do you know if anyone No

else has filed a proof L) Yes. Who made the earlier filing?
of claim for this claim?

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a Give Information About the Claim as of the Date the Case Was Filed

6. Do you have anynumber () No
you use to identify the Yes. Last 4 digits of the debtors account or any number you use to identify the debtor 0099
debtor?
7. How much is this claim? $152,005.80 Does this amount include interest or other charges?

O No
I Yes Attach statement itemizing interest, fees, expenses, or other charges
required by Bankruptcy Rule 3001 (c)(2)(A).

8. What is the basis of the
claim?

Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).

Limit disclosing information that is entitled to privacy, such as health care information.

Money Loaned

9. Is all or part of the claim
secured?

OU) No

Yes. The claim is secured bv a lien on propertv.
Nature of property: 5601 Aiken Road Mc Kees Rocks, PA 15136

Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
Attachment (Official Form 410-A) with this Proof of Claim.

CL) Motor vehicle

C) Other. Describe:

Basis for perfection: Recorded Mortgage

Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
been filed or recorded.)

Value of property: $
Amount of the claim that is secured: $152,005.80

Amount of the claim that is unsecured: $ (The sum of the secured and unsecured
amounts should match the amount in line 7.)

Amount necessary to cure any default as of the date of the petition: $43,594.58
Annual Interest Rate (when case was filed) 4.00%

right of setoff?

Fixed
U) variable
10. Is this claim based on a No
lease?
C) Yes. Amount necessary to cure any default as of the date of the petition. $
11. Is this claim subject to a No

CL) Yes. Identify the property:

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12. Is all or part of the claim

entitled to priority under
11 U.S.C. § 507(a)?

A claim may be partly
priority and partly
nonpriority. For example,
in some categories, the
law limits the amount
entitled to priority.

IX] No

Q) Yes. Check all that apply: Amount entitled to priority

L) Domestic support obligations (including alimony and child support) under
11 U.S.C. § 507(a)(1)(A) or (a)(1)(B)

) Up to $3,025* of deposits toward purchase, lease, or rental of property or services for

personal, family, or household use. 11 U.S.C. § 507(a)(7).

) Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the

bankruptcy petition is filed or the debtor's business ends, whichever is earlier.
11 USC. § 507(a)(4).

CL) Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8). $
() Contr butions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $
C) Other. Specify subsection of 11 U.S.C. § 507(a)(_) that applies. $

* Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

Be Sign Below

The person completing
this proof of claim must
sign and date it.

FRBP 9011(b).

If you file this claim
electronically, FRBP
5005(a)(2) authorizes courts
to establish local rules
specifying what a signature
is.

A person who files a
fraudulent claim could be
fined up to $500,000,
imprisoned for up to 5
years, or both.

18 U.S.C. §§ 152, 157, and
3571.

Check the appropriate box:

() 1am the creditor.

| am the creditor's attorney or authorized agent.

() 1am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
Q) lama guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

| understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

| have examined the information in this Proof of Claim and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on date 03/26/2021
MM/ DD / YYYY

/s/ Brian C. Nicholas Esquire Attorney ID# 317240
Signature

Print the name of the person who is completing and signing this claim:

Name Brian C. Nicholas
First name Middle name Last name
Tile Bankruptcy Attorney
Company KML Law Group, P.C.

Iden ify the corporate servicer as the company if the authorized agent is a servicer.

701 Market Street, Suite 5000

Address .Number Street
Philadelphia PA 19106
City State ZIP Code
Contact 201-549-5366 Email bnicholas@kmlilawgroup.com
phone

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Mortgage Proof of Claim Attachment

(12/15)

If you file a claim secured by a security interest in the debtor's principal residence, you must use this form as an attachment to your proof of claim See separate instructions.

Part 1: Mortgage and Case Information

Part 2: Total Debt Calculation

Part 3: Arrearage as of the Date of the Petition

Part 4: Monthly Mortgage Payme

Case Number: 2120158 Principal balance: 114,204.20 Principal & interest due: 16,579.53 Principal & Interest: 502.41
Debtor 1: Louis Comport Interest due: 12,887.84 Prepetition fees due: 4.074.50 Monthly escrow: 335.06
Debtor 2: Fees, costs due: 4,074.50 Escrow deficiency for funds 21,032.24 Private mortage
. oo advanced: insurance: 22.72
Last 4 digits to identify- 0099 Escrow deficiency for
funds ad ed: 21,032.24 Projected escrow shortage: 2,101.29 — Total thi
Creditor: NewRez LLC d/b/a Shellpoint Mortgage aevane payment. 860.19
Servicing Less funds on hand: - -192.98 Less funds on hand: - -192.98 :
Total debt 152,005.80 Total prepetition arrearage 43,594 58
Servicer: NewRez LLC DBA Shellpoint Mortgage
Servicing
Fixed accrual/daily Fixed
simple interest/other:
Part 5: Loan Payment History from First Date of Default
A. B. Cc. D. EO F. G. H. I. J. K. L. M. — N. oO. P. Q
Date Contractual Funds Amount Description Contractual Prin, Int & Amount Amount Amount Amount Unapplied Principal Accrued Escrow Fees/ Unapplied
payment received incurred due date esc pastdue to to to tofeesor funds balance interest balance Charges funds
amount balance principal _interest escrow charges balance balance balance
4/7/15 891.00 Unapplied Payment 10/1/14 891.00 119073.19 -923.07 1954.37
4/9/15 900.60 900.60 Regular Payment 10/1/14 105.50 396.91 398.19 118967.69 -524.88
4/9/15 -900.60 Unapplied Payment 10/1/14 -900.60 1053.77
4/20/15 -344.74 Tax Bill 1 Disburser 5/1/15 -344.74 -869.62
4/22/15 891.00 Unapplied Payment 11/1/14 891.00 1944.77
4/22/15 -900.60 Unapplied Payment 11/1/14 -900.60 1044.17
4/22/15 900.60 900.60 Regular Payment 11/1/14 105.85 396.56 398.19 118861.84 -471.43
5/6/15 -1174.00 Insurance Premium] 5/1/16 -1174.00 -1645.43
6/5/15 891.87 891.87 Regular Payment 12/1/14 106.20 396.21 389.46 118755.64 -1255.97
7/30/15 891.87 891.87 Regular Payment 1/1/15 106.56 395.85 389.46 118649.08 -866.51
9/22/15 -2168.84 Escrow Adjustment 9/1/15 -2168.84 -3035.35
9/30/15 -50.00 FC Costs 9/1/15 50.00
9/30/15 -688.00 FC Costs 9/1/15 738.00
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Debtor 1: Louis Comport
Part 5: Loan Payment History from First Date of Default
te Comtractual C. D. EE F. G. HL I. J. K. L  M_ N. oO. P. Q
unds Amount _ Description Contractual Prin, Int & Amount Amount Amount Amount  Unapplied Principal Accrued Escrow Fees / Unapplic
payment received incurred due date esc pastdue to to to tofeesor funds blance interest balance Charges funds
amount balance principal interest escrow charges balance balance balance
10/26/15 -960.00 FC Costs 2/1/15 -960.00 1698.00
12/23/15 -480.00 FC Costs 2/1/15 -480.00 2178.00
12/23/15 -1866.50 FC Costs 2/1/15 -1866.50 4044.50
12/28/15 15.00 Escrow Only Payme 2/1/15 15.00 -3020.35
2/24/16 -543.73 Tax Bill 1 Disburser 3/1/16 -543.73 -3564.08
3/8/16 -272.65 Insurance Premium] 3/1/16 -272.65 -3836.73
4/20/16 -1169.00 Insurance Premium] 5/1/16 -1169.00 -5005.73
5/12/16 -344.74 Tax Bill 1 Disburser 5/1/16 -344.74 -5350.47
9/9/16 1154.26 Unapplied Payment 2/1/15 1154.26 2198.43
9/16/16 -2267.39 Escrow Adjustment 9/1/16 -2267.39 -7617.86
12/7/16 -891.87 Unapplied Payment 2/1/15 -891.87 1306.56
12/7/16 891.87 891.87 Regular Payment 2/1/15 106.91 395.50 389.46 118542.17 -7228.40
12/8/16 14.54 Unapplied Payment 3/1/15 14.54 1321.10
12/8/16 -14.54 Escrow Adjustment 3/1/15 -14.54 -7242.94
2/16/17 -272.65 Insurance Premium] 2/1/17 -272.65 -7515.59
3/3/17 -543.73 Tax Bill 1 Disburser 3/1/17 -543.73 -8059.32
3/21/17 -272.65 Insurance Premium] 3/1/17 -272.65 -8331.97
4/10/17 272.65 Escrow Only Payme 3/1/15 272.65 -8059.32
4/21/17 -1215.00 Insurance Premium] 5/1/17 -1215.00 -9274.32
5/15/17 -344.74 Tax Bill 1 Disburser 5/1/17 -344.74 -9619.06
6/16/17 -853.53 Unapplied Payment 3/1/15 -853.53 467.57
T/L9/17 -22.72 Insurance Premium] 7/16/17 -22.72 -9641.78
8/7/17 22.72 Insurance Refund = 3/1/15 22.72 -9619.06
9/15/17 -2267.50 Tax Bill 1 Disburser 9/30/17 -2267.50 -11886.56
2/27/18 -543.73 Tax Bill 1 Disburser 3/31/18 -543.73 -12430.29
3/22/18 -272.65 Insurance Premium] 3/28/18 -272.65 -12702.94
4/10/18 -502.41 Unapplied Payment 3/1/15 -502.41 -34.84
4/10/18 502.41 502.41 Regular Payment 3/1/15 107.27 395.14 118434.90
4/11/18 -1250.00 Insurance Premium] 5/10/18 -1250.00 -13952.94
4/27/18 559.31 Prepetition Unapplie 4/1/15 559.31 524.47
4/30/18 -502.41 Prepetition Unapplie 4/1/15 -502.41 22.06
4/30/18 502.41 502.41 Regular Payment 4/1/15 107.63 394.78 118327.27
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Mortgage Proof of Claim Attachment (12/15)
Case Number: 2120158
Debtor 1: Louis Comport
Part 5: Loan Payment History from First Date of Default
te Comtractual C. EE F. G. HL I. J. K. L  M_ N. oO. P. Q
unds Amount _ Description Contractual Prin, Int & Amount Amount Amount Amount  Unapplied Principal Accrued Escrow Fees / Unapplic
payment received incurred due date esc pastdue to to to tofeesor funds blance interest balance Charges funds
amount balance principal interest escrow charges balance balance balance
502.41 502.41 Regular Payment 5/1/18 502.41
5/4/18 -424.30 Tax Bill 1 Disburser 5/31/18 -424 30 -14377.24
5/29/18 576.63 Prepetition Unapplie 5/1/15 576.63 598.69
5/31/18 -502.41 Prepetition Unapplie 5/1/15 -502.41 96.28
5/31/18 502.41 502.41 Regular Payment 5/1/15 502.41 107.99 394.42 118219.28
502.41 502.41 Regular Payment 6/1/18 1004.82
6/26/18 749.22 Prepetition Unapplie 6/1/15 749.22 845.50
6/29/18 -502.41 Prepetition Unapplie 6/1/15 -502.41 343.09
6/29/18 502.41 502.41 Regular Payment 6/1/15 1004.82 108.35 394.06 118110.93
502.41 502.41 Regular Payment 7/1/18 1507.23
7/30/18 748.90 Prepetition Unapplie 7/1/15 748.90 1091.99
7/31/18 -1004.82 Prepetition Unapplie 7/1/15 -1004.82 87.17
7/31/18 502.41 502.41 Regular Payment TAS 1507.23 108.71 393.70 118002.22
7/31/18 502.41 502.41 Regular Payment 8/1/15 1507.23 109.07 393.34 117893.15
502.41 502.41 Regular Payment 8/1/18 2009.64
8/31/18 748.61 Prepetition Unapplie 9/1/15 748.61 835.78
502.41 502.41 Regular Payment 9/1/18 2512.05
9/4/18 -502.41 Prepetition Unapplie 9/1/15 -502.41 333.37
9/4/18 502.41 502.41 Regular Payment 9/1/15 2512.05 109.43 392.98 117783.72
9/4/18 -2268.53 Tax Bill 1 Disburser 9/30/18 -2268.53 -16645.77
9/29/18 633.23 Prepetition Unapplie 10/1/15 633.23 966.60
9/29/18 -502.41 Prepetition Unapplie 10/1/15 -502.41 464.19
9/29/18 502.41 502.41 Regular Payment 10/1/15 2512.05 109.80 392.61 117673.92
502.41 502.41 Regular Payment 10/1/18 3014.46
502.41 502.41 Regular Payment 11/1/18 3516.87
11/2/18 748.12 Prepetition Unapplie 11/1/15 748.12 1212.31
11/8/18 744.00 Prepetition Unapplie 1/1/16 744.00 1956.31
11/29/18 502.42 502.42 Regular Payment 11/1/15 3516.87 110.16 392.25 0.01 117563.76 -16645.76
11/29/18 -502.42 Prepetition Unapplie 12/1/15 -502.42 1453.89
11/29/18 502.42 502.42 Regular Payment 12/1/15 3516.87 110.53 391.88 0.01 117453.23 -16645.75
11/29/18 -502.42 Prepetition Unapplie 1/1/16 -502.42 951.47
502.41 502.41 Regular Payment 12/1/18 4019.28
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Case Number: 2120158
Debtor 1: Louis Comport
Part 5: Loan Payment History from First Date of Default
te Comtractual C. D. EE F. G. HL I. J. K. L  M_ N. oO. P. Q
unds Amount _ Description Contractual Prin, Int & Amount Amount Amount Amount  Unapplied Principal Accrued Escrow Fees / Unapplic
payment received incurred due date esc pastdue to to to tofeesor funds blance interest balance Charges funds
amount balance principal interest escrow charges balance balance balance
12/18/18 -502.42 Prepetition Unapplie 1/1/16 -502.42 449.05
12/18/18 502.42 502.42 Regular Payment 1/1/16 4019.28 110.90 391.51 0.01 117342.33 -16645.74
12/24/18 217.15 Prepetition Unapplie 2/1/16 217.15 666.20
12/31/18 502.41 502.41 Regular Payment 2/1/16 4019.28 111.27 391.14 117231.06
12/31/18 -502.41 Prepetition Unapplie 3/1/16 -502.41 163.79
502.41 502.41 Regular Payment 1/1/19 4521.69
1/21/19 -15.00 Property Inspection 3/1/16 -15.00 4059.50
1/28/19 386.00 Prepetition Unapplie 3/1/16 386.00 549.79
1/30/19 -502.42 Prepetition Unapplie 3/1/16 -502.42 47.37
1/30/19 502.42 502.42 Regular Payment 3/1/16 4521.69 111.64 390.77 0.01 117119.42 -16645.73
502.41 502.41 Regular Payment 2/1/19 5024.10
2/27/19 -543.73 Tax Bill 1 Disburser 3/31/19 -543.73 -17189.46
2/28/19 515.32 Prepetition Unapplie 4/1/16 515.32 562.69
502.41 502.41 Regular Payment 3/1/19 5526.51
3/15/19 -502.42 Prepetition Unapplie 4/1/16 -502.42 60.27
3/15/19 502.42 502.42 Regular Payment 4/1/16 5526.51 112.01 390.40 0.01 117007.41 -17189.45
3/25/19 612.59 Prepetition Unapplie 5/1/16 612.59 672.86
502.41 502.41 Regular Payment 4/1/19 6028.92
4/8/19 -502.41 Prepetition Unapplie 5/1/16 -502.41 170.45
4/8/19 502.41 502.41 Regular Payment 5/1/16 6028.92 112.39 390.02 116895.02
4/11/19 -1218.00 Insurance Premium] 5/10/19 -1218.00 -18407.45
4/20/19 -272.65 Insurance Premium] 4/28/19 -272.65 -18680.10
4/29/19 631.64 Prepetition Unapplie 6/1/16 631.64 802.09
4/30/19 -502.41 Prepetition Unapplie 6/1/16 -502.41 299.68
4/30/19 502.41 502.41 Regular Payment 6/1/16 6028.92 112.76 389.65 116782.26
502.41 502.41 Regular Payment 5/1/19 6531.33
5/2/19 -424.30 Tax Bill 1 Disburser 5/31/19 -424 30 -19104.40
5/24/19 -272.65 Insurance Premium] 5/28/19 -272.65 -19377.05
5/29/19 734.16 Unapplied Payment 7/1/16 734.16 1033.84
5/30/19 -892.30 Unapplied Payment 7/1/16 -892.30 141.54
5/30/19 892.30 Regular Payment wi 7/1/16 6531.33 113.14 389.27 389.89 116669.12 -18987.16
502.41 502.41 Regular Payment 6/1/19 7033.74
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Case Number: 2120158
Debtor 1: Louis Comport
Part 5: Loan Payment History from First Date of Default
te Comtractual C. EE F. G. HL I. J. K. L  M_ N. oO. P. Q
unds Amount _ Description Contractual Prin, Int & Amount Amount Amount Amount  Unapplied Principal Accrued Escrow Fees / Unapplic
payment received incurred due date esc pastdue to to to tofeesor funds blance interest balance Charges funds
amount balance principal interest escrow charges balance balance balance
6/25/19 -272.65 Insurance Premium] 6/28/19 -272.65 -19259.81
6/25/19 272.65 Insurance Refund = 8/1/16 272.65 -18987.16
502.41 502.41 Regular Payment 7/1/19 7536.15
7/5/19 272.65 Insurance Refund = 8/1/16 272.65 -18714.51
T/AS/19 77761 Prepetition Unapplie 8/1/16 77761 919.15
7/24/19 -272.65 Insurance Premium] 7/28/19 -272.65 -18987.16
7/30/19 -502.41 Prepetition Unapplie 8/1/16 -502.41 416.74
7/30/19 502.41 502.41 Regular Payment 8/1/16 7536.15 113.51 388.90 116555.61
7/30/19 -502.41 Prepetition Unapplie 9/1/16 -502.41 -85.67
7/30/19 502.41 502.41 Regular Payment 9/1/16 7536.15 113.89 388.52 116441.72
502.41 502.41 Regular Payment 8/1/19 8038.56
8/1/19 802.30 Prepetition Unapplie 10/1/16 802.30 716.63
8/6/19 272.65 Insurance Refund —11/1/16 272.65 -18714.51
8/7/19 -502.41 Prepetition Unapplie 10/1/16 -502.41 214.22
8/7/19 502.41 502.41 Regular Payment 10/1/16 8038.56 114.27 388.14 116327.45
502.41 502.41 Regular Payment 9/1/19 8540.97
9/3/19 -2269.43 Tax Bill 1 Disburser 9/30/19 -2269.43 -20983.94
9/27/19 836.64 Prepetition Unapplie 11/1/16 836.64 1050.86
9/30/19 -502.41 Prepetition Unapplie 11/1/16 -502.41 548.45
9/30/19 502.41 502.41 Regular Payment 11/1/16 8540.97 114.65 387.76 116212.80
9/30/19 -502.41 Prepetition Unapplie 12/1/16 -502.41 46.04
9/30/19 502.41 502.41 Regular Payment 12/1/16 8540.97 115.03 387.38 116097.77
502.41 502.41 Regular Payment 10/1/19 9043.38
10/28/19 841.80 Prepetition Unapplie 1/1/17 841.80 887.84
10/30/19 -502.41 Prepetition Unapplie 1/1/17 -502.41 385.43
10/30/19 502.41 502.41 Regular Payment 1/1/17 9043.38 115.42 386.99 115982.35
10/30/19 -502.41 Prepetition Unapplie 2/1/17 -502.41 -116.98
10/30/19 502.41 502.41 Regular Payment 2/1/17 9043.38 115.80 386.61 115866.55
502.41 502.41 Regular Payment 11/1/19 9545.79
11/29/19 832.71 Prepetition Unapplie 3/1/17 832.71 715.73
502.41 502.41 Regular Payment 12/1/19 10048.20
12/3/19 -502.41 Prepetition Unapplie 3/1/17 -502.41 213.32
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Mortgage Proof of Claim Attachment (12/15)
Case Number: 2120158
Debtor 1: Louis Comport
Part 5: Loan Payment History from First Date of Default
te Comtractual C. EE F. G. HL I. J. K. L  M_ N. oO. P. Q
unds Amount _ Description Contractual Prin, Int & Amount Amount Amount Amount  Unapplied Principal Accrued Escrow Fees / Unapplic
payment received incurred due date esc pastdue to to to tofeesor funds blance interest balance Charges funds
amount balance principal interest escrow charges balance balance balance
12/3/19 502.41 502.41 Regular Payment 3/1/17 10048.20 116.19 386.22 115750.36
12/30/19 833.90 Prepetition Unapplie 4/1/17 833.90 1047.22
502.41 502.41 Regular Payment 1/1/20 10550.61
1/6/20 -502.41 Prepetition Unapplie 4/1/17 -502.41 544.81
1/6/20 502.41 502.41 Regular Payment 4/1/17 10550.61 116.58 385.83 115633.78
1/6/20 -502.41 Prepetition Unapplie 5/1/17 -502.41 42.40
1/6/20 502.41 502.41 Regular Payment 5/1/17 10550.61 116.96 385.45 115516.82
502.41 502.41 Regular Payment 2/1/20 11053.02
2/2/20 1163.26 Prepetition Unapplie 6/1/17 1163.26 1205.66
2/3/20 -502.42 Prepetition Unapplie 6/1/17 -502.42 703.24
2/3/20 502.42 502.42 Regular Payment 6/1/17 11053.02 117.35 385.06 0.01 115399.47 -20983.93
2/3/20 -502.42 Prepetition Unapplie 7/1/17 -502.42 200.82
2/3/20 502.42 502.42 Regular Payment TAT 11053.02 117.75 384.66 0.01 115281.72 -20983.92
2/21/20 -543.73 Tax Bill 1 Disburser 3/31/20 -543.73 -21527.65
2/28/20 1130.20 Prepetition Unapplie 8/1/17 1130.20 1331.02
2/29/20 -502.42 Prepetition Unapplie 8/1/17 -502.42 828.60
2/29/20 502.42 502.42 Regular Payment 8/1/17 11053.02 118.14 384.27 0.01 115163.58 -21527.64
2/29/20 -502.42 Prepetition Unapplie 9/1/17 -502.42 326.18
2/29/20 502.42 502.42 Regular Payment 9/1/17 11053.02 118.53 383.88 0.01 115045.05 -21527.63
2/29/20 -502.42 Prepetition Unapplie 10/1/17 -502.42 -176.24
2/29/20 502.42 502.42 Regular Payment 10/1/17 11053.02 118.93 383.48 0.01 114926.12 -21527.62
502.41 502.41 Regular Payment 3/1/20 11555.43
3/26/20 1098.45 Prepetition Unapplie 11/1/17 1098.45 922.21
3/31/20 -272.65 Insurance Premium] 3/28/20 -272.65 -21800.27
3/31/20 -502.42 Prepetition Unapplie 11/1/17 -502.42 419.79
3/31/20 502.42 502.42 Regular Payment 11/1/17 11555.43 119.32 383.09 0.01 114806.80 -21800.26
3/31/20 -502.42 Prepetition Unapplie 12/1/17 -502.42 -82.63
3/31/20 502.42 502.42 Regular Payment 12/1/17 11555.43 119.72 382.69 0.01 114687.08 -21800.25
502.41 502.41 Regular Payment 4/1/20 12057.84
4/23/20 -110.35 Prepetition Unapplie 1/1/18 -110.35 -192.98
4/23/20 110.35 Escrow Only Payme 1/1/18 110.35 -21689.90
4/30/20 1070.95 Prepetition Unapplie 1/1/18 1070.95 877.97
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Mortgage Proof of Claim Attachment (12/15)
Case Number: 2120158
Debtor 1: Louis Comport
Part 5: Loan Payment History from First Date of Default
te Comtractual Ce mt a ccerint F. G. H. L. J. K. L MN O. P. Q
ption Contractual Prin, Int & Amount Amount Amount Amount  Unapplied Principal Accrued Escrow Fees / Unapplic
payment received incurred due date esc pastdue to to to tofeesor funds blance interest balance Charges funds
amount balance principal interest escrow charges balance balance balance
4/30/20 -502.42 Prepetition Unapplie 1/1/18 -502.42 375.55
4/30/20 502.42 502.42 Regular Payment 1/1/18 12057.84 120.12 382.29 0.01 114566.96 -21689.89
4/30/20 -568.53 Prepetition Unapplie 2/1/18 -568.53 -192.98
4/30/20 568.53 Escrow Only Payme 2/1/18 568.53 -21121.36
502.41 502.41 Regular Payment 5/1/20 12560.25
5/5/20 424.30 Tax Bill 1 Disburser 5/31/20 -424 30 -21545.66
502.41 502.41 Regular Payment 6/1/20 13062.66
6/30/20 760.64 Prepetition Unapplie 2/1/18 760.64 567.66
6/30/20 -760.64 Prepetition Unapplie 2/1/18 -760.64 -192.98
6/30/20 760.64 Escrow Only Payme 2/1/18 760.64 -20785.02
502.41 502.41 Regular Payment 7/1/20 13565.07
7/30/20 -367.10 Insurance Premium] 7/10/20 -367.10 -21152.12
502.41 502.41 Regular Payment 8/1/20 14067.48
8/4/20 973.32 Prepetition Unapplie 2/1/18 973.32 780.34
8/13/20 -892.30 Prepetition Unapplie 2/1/18 -892.30 -111.96
8/13/20 892.30 892.30 Regular Payment 2/1/18 14067.48 120.52 381.89 389.89 114446.44 -20762.23
8/13/20 -81.02 Prepetition Unapplie 3/1/18 -81.02 -192.98
8/13/20 81.02 Escrow Only Payme 3/1/18 81.02 -20681.21
502.41 502.41 Regular Payment 9/1/20 14569.89
9/1/20 -122.37 Insurance Premium] 8/10/20 -122.37 -20803.58
9/1/20 -2269.72 Tax Bill 1 Disburser 9/30/20 -2269.72 -23073.30
9/1/20 960.41 Prepetition Unapplie 3/1/18 960.41 767.43
9/2/20 -892.30 Prepetition Unapplie 3/1/18 -892.30 -124.87
9/2/20 892.30 892.30 Regular Payment 3/1/18 14569.89 120.92 381.49 389.89 114325.52 -22683.41
9/2/20 -68.11 Prepetition Unapplie 4/1/18 -68.11 -192.98
9/2/20 68.11 Escrow Only Payme 4/1/18 68.11 -22615.30
9/9/20 -783.00 Insurance Premium] 9/1/20 -783.00 -23398.30
9/10/20 36.99 Insurance Refund = 4/1/18 36.99 -23361.31
502.41 502.41 Regular Payment 10/1/20 15072.30
10/1/20 948.88 Prepetition Unapplie 4/1/18 948.88 755.90
10/1/20 -892.30 Prepetition Unapplie 4/1/18 -892.30 -136.40
10/1/20 892.30 892.30 Regular Payment 4/1/18 15072.30 121.32 381.09 389.89 114204.20 -22971.42
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Mortgage Proof of Claim Attachment (12/15)
Case Number: 2120158
Debtor 1: Louis Comport
Part 5: Loan Payment History from First Date of Default
* & ic EE F. G. HL I. J. K. L. M. — N. oO. P. Q
ate ontractua Funds Amount Description Contractual Prin, Int & Amount Amount Amount Amount  Unapplied Principal Accrued Escrow Fees / Unapplic
payment received incurred due date esc pastdue to to to tofeesor funds blance interest balance Charges funds
amount balance principal interest escrow charges balance balance balance
10/1/20 -56.58 Prepetition Unapplie 5/1/18 -56.58 -192.98
10/1/20 56.58 Escrow Only Payme 5/1/18 56.58 -22914.84
502.41 502.41 Regular Payment 11/1/20 15574.71
11/3/20 938.72 Prepetition Unapplie 5/1/18 938.72 745.74
11/10/20 -938.72 Prepetition Unapplie 5/1/18 -938.72 -192.98
11/10/20 938.72 Escrow Only Payme 5/1/18 938.72 -21976.12
502.41 502.41 Regular Payment 12/1/20 16077.12
12/2/20 943.88 Prepetition Unapplie 5/1/18 943.88 750.90
12/3/20 -943.88 Prepetition Unapplie 5/1/18 -943.88 -192.98
12/3/20 943.88 Escrow Only Payme 5/1/18 943.88 -21032.24
502.41 502.41 Regular Payment 1/1/21 16579.53
1/18/21 -15.00 Property Inspection 5/1/18 16579.53 -15.00 114204.20 -21032.24 4074.50 -192.98
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Mortgage Proof of Claim Attachment
